AO 91 (Rev. 11/11) Criminal Complaint                                                  SEALED BY ORDER OF THE COURT


                                     UNITED STATES DISTRICT COURT                                                        FILED
                                                                 for the                                                  Jun 01 2020
                                                    Northern District
                                                  __________  DistrictofofCalifornia
                                                                           __________                                   SUSANY. SOONG
                                                                                                                   CLERK, U.S. DISTRICT COURT
                  United States of America                          )                                           NORTHERN DISTRICT OF CALIFORNIA
                                                                                                                         SAN FRANCISCO
                             v.                                     )
              GEOFFREY MARK PALERMO
                                                                    )       Case No.3:20-mj-70681 AGT
                                                                    )
                                                                    )
                                                                    )
                                                                    )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of December 2013 through April 2020 in the county of                    San Francisco and Marin         in the
     Northern          District of            California        , the defendant(s) violated:

            Code Section                                                      Offense Description
18 U.S.C. §§ 1343, 1346                         Count One: Wire Fraud and Honest Services Wire Fraud
18 U.S.C. § 1343                                Count Two: Wire Fraud
18 U.S.C. § 1014                                Count Three: False Statement in Loan Application to Federally Insured Bank

                                                Max. Penalties: Counts One & Two: Up to 20 yrs. imprisonment; $250,000
                                                fine or twice the gross gain/loss; 3 yrs. supervised release; $100 mandatory
                                                special assessment; Count Three: Up to 30 yrs. imprisonment; $1,000,000
                                                fine; 3 yrs.' supervised release; $100 mandatory special assessment

         This criminal complaint is based on these facts:
See attached Affidavit of FBI Special Agent Alexandra E. Bryant




         ✔ Continued on the attached sheet.
         u
                                                                                 /s/ Alexandra Bryant
                                                                                 via telephone
                                                                                               Complainant’s signature
    $SSURYHGDVWRIRUPBBBBBBBBBBBBBBB
                                                                                  Alexandra E. Bryant, Special Agent, FBI
                  $86$BBBBBBBBBB
                                .DWKHULQH/:DZU]\QLDN
                                                                                                Printed name and title

Sworn to before me and signed in my presence.
                                                           via telephone.
           5/29/2020
Date:
                                                                                                  Judge’s signature

City and state:                         San Francisco, CA                         Hon. Alex G. Tse, U.S. Magistrate Judge
                                                                                                Printed name and title
     AFFIDAVIT OF SPECIAL AGENT ALEXANDRA BRYANT IN SUPPORT OF
                        CRIMINAL COMPLAINT

       I, Alexandra Bryant, a Special Agent of the Federal Bureau of Investigation, being duly

sworn, hereby declare as follows:

                       I.     OVERVIEW AND AGENT BACKGROUND

       1.      I make this affidavit in support of a three-count Criminal Complaint against

GEOFFREY MARK PALERMO (hereinafter PALERMO):

            a. Count One: Wire Fraud and Honest Services Wire Fraud, for a kickback scheme

               PALERMO orchestrated from 2013 through 2016 while managing the Hilton

               hotel at 750 Kearny Street in San Francisco, CA, in violation of 18 U.S.C. §§

               1343, 1346;

            b. Count Two: Wire Fraud, for defrauding a Small Business Administration (SBA)

               Preferred Lender in connection with obtaining $5 million in SBA-guaranteed

               loans in 2019, in violation of 18 U.S.C. § 1343;

            c. Count Three: False Statement in a Loan Application, for making false

               certifications in April 2020 in order to obtain a Paycheck Protection Program

               (PPP) loan through an FDIC-insured bank, in violation of 18 U.S.C. § 1014.

For the reasons set forth below, I believe there is probable cause to believe PALERMO has

committed each of the foregoing violations of federal law.

       2.      The statements contained in this affidavit come from my personal observations,

my training and experience, information from records and databases, and information obtained

from other agents and witnesses. This affidavit summarizes such information in order to show

that there is probable cause to believe that PALERMO has committed the violations listed above.

This affidavit does not purport to set forth all of my knowledge about this matter, or to name all

of the persons who participated in these crimes.
         3.    I am a Special Agent of the Federal Bureau of Investigation (“FBI”) and have

been so employed for approximately three years. I am currently assigned to a Complex Financial

Crime Squad of FBI’s San Francisco Field Division. As part of my assigned duties, I investigate

possible violations of federal criminal law, specifically investigations involving white collar

crime.

                                     II.       APPLICABLE LAW

         4.    Title 18, United States Code, Section 1343 provides: “Whoever, having devised

or intending to devise any scheme or artifice to defraud, or for obtaining money or property by

means of false or fraudulent pretenses, representations, or promises, transmits or causes to be

transmitted by means of wire, radio, or television communication in interstate or foreign

commerce, any writings, signs, signals, pictures, or sounds for the purpose of executing such

scheme or artifice, shall be fined under this title or imprisoned not more than 20 years, or both. If

the violation occurs in relation to, or involving any benefit authorized, transported, transmitted,

transferred, disbursed, or paid in connection with, a presidentially declared major disaster or

emergency (as those terms are defined in section 102 of the Robert T. Stafford Disaster Relief

and Emergency Assistance Act (42 U.S.C. 5122)), or affects a financial institution, such person

shall be fined not more than $1,000,000 or imprisoned not more than 30 years, or both.”

         5.    Title 18, United States Code, Section 1346 provides: “For the purposes of this

chapter, the term ‘scheme or artifice to defraud’ includes a scheme or artifice to deprive another

of the intangible right of honest services.”

         6.    Title 18, United States Code, Section 1014 provides, in relevant part: “Whoever

knowingly makes any false statement or report…for the purpose of influencing in any way the

action of…any institution the accounts of which are insured by the Federal Deposit Insurance

Corporation…upon any application, advance, discount, purchase, purchase agreement,

repurchase agreement, commitment, loan, or insurance agreement or application for insurance or
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a guarantee, or any change or extension of any of the same, by renewal, deferment of action or

otherwise, or the acceptance, release, or substitution of security therefor, shall be fined not more

than $1,000,000 or imprisoned not more than 30 years, or both…”

                        III.    FACTS SUPPORTING PROBABLE CAUSE

    A. Executive Summary

        7.      PALERMO is a 56-year-old male living in Novato, CA. From approximately

2008 until approximately June 2016, PALERMO worked as a manager at the Hilton hotel at 750

Kearny Street in San Francisco, CA, which is owned and operated by Justice Investors LP

(“Justice Investors”), a California limited partnership based in Los Angeles.1 PALERMO was a

Managing Director of Justice Investors. Between approximately December 2013 and June 2016,

GMP Management, a California corporation wholly owned and controlled by PALERMO, had a

contract with Justice Investors for administration and management of the property. PALERMO

used that arrangement to embezzle large sums from Justice Investors, including through capital

improvement kickback schemes.2 As further detailed below, PALERMO would demand

kickbacks from contractors performing work at the hotel. The contractors would create false or

inflated invoices to Justice Investors. PALERMO would cause Justice Investors to pay the

invoices, and then the contractors would pay some of the funds to PALERMO (or entities

controlled by PALERMO) via check or cash. As further detailed below, the investigation has

revealed that one such contractor, A.R., paid approximately $1.5 million in kickbacks to

PALERMO between March 2013 and June 2016. This conduct is the subject of Count One.

1
  Approximately 93% of Justice Investors is owned by Portsmouth Square, a subsidiary of the public real
estate company InterGroup Corporation (“InterGroup”). PALERMO is a minority partner in Justice
Investors and owns approximately 3%.
2
  In 2018 Justice Investors filed a civil complaint in San Francisco Superior Court against PALERMO
relating to PALERMO’s management of the Hilton. The complaint alleged more than $10 million in
losses due to multiple embezzlement and fraud schemes. The dispute is now in JAMS arbitration.



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       8.      PALERMO resigned from Justice Investors in June 2016. Thereafter, he focused

his attention on GMP Cars, a set of collision and auto repair centers in the Bay Area owned by

PALERMO. The GMP Cars office is located at 20 Pimentel Court, Building C Suite 4, Novato,

CA, and there are approximately six repair centers still open today in Novato, Fremont, Santa

Rosa, San Francisco, Vallejo, and Fairfield. As further detailed below, PALERMO has used

GMP Cars’ funds to pay for personal auto racing expenses and other lifestyle purchases, leaving

the company with mounting debt. In 2019, PALERMO applied for and eventually secured two

loans to GMP Cars for a total of approximately $5 million from a U.S. Small Business

Administration Preferred Lender (“Lender 1”). The SBA guaranteed 75% of the loans from

Lender 1 to GMP Cars under the SBA’s Section 7(a) program. PALERMO made several

material omissions and false statements during the 2019 loan application process in order to

induce Lender 1 to make the loans. This scheme to defraud is the subject of Count Two.

       9.      In 2020, after he was aware that he was the target of a federal criminal

investigation, PALERMO applied for and received approximately $1.7 million through the

SBA’s Paycheck Protection Program (PPP). The PPP is a relief program offered through

participating lenders to aid small businesses during the COVID-19 pandemic. PPP funds can be

used to pay up to eight weeks of payroll costs, including benefits, and also for rent, utilities, and

interest on mortgages. In early April 2020, PALERMO applied for a PPP loan through an FDIC-

insured bank (“CP Bank”). In the application, PALERMO falsely certified that he had employees

for whom he paid salaries and payroll taxes; in fact, PALERMO has not been paying payroll

taxes for GMP Cars employees as required since mid-2019. The false statement to CP Bank is

the subject of Count Three below.

       10.     The remainder of this affidavit will lay out the facts supporting each Count in

detail. This affidavit is based on FBI interviews, information from other law enforcement

officers, and the review of financial and business records.
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   B. Count One: San Francisco Hilton Wire Fraud/Honest Services Wire Fraud

       11.     The San Francisco Hilton is a 544-room hotel located in Chinatown’s Portsmouth

Square. PALERMO began working at the hotel in the early 2000s. The hotel was completely

renovated in 2006. In November 2008, after Justice Investors took ownership of the property,

PALERMO became a Managing Director of Justice Investors. As an officer of Justice Investors,

PALERMO owed fiduciary duties to Justice Investors, including the duty to refrain from self-

dealing. Throughout the time period 2008 through 2016, PALERMO oversaw and managed

various construction and repair projects at the hotel. He had considerable discretion in choosing

contractors to complete projects and had authority to sign contracts on behalf of the hotel.

       12.     On December 1, 2013, GMP Management entered into a Management Services

Agreement with Justice Investors, under which PALERMO and GMP Management would

manage the hotel for a term of three years. Pursuant to the Management Services Agreement,

Justice Investors paid GMP Management set management fees—$325,000 the first year, with a

five percent cost-of-living increase for each of the next two years. GMP Management and

PALERMO submitted an annual budget to Justice Investors that included the salary expenses for

GMP Management employees and other operating expenses. As part of the contract, GMP

Management was not to receive payments in excess of the management fees and approved

budget without the approval of Justice Investors, PALERMO, and one other GMP Management

employee. Also as part of the contract, GMP Management was not to conduct any business that

was adverse to the interests of Justice Investors without prior approval.

       13.     PALERMO was the President of GMP Management and had authority, under the

Management Services Agreement, to enter into contracts on behalf of Justice Investors and to

choose contractors and otherwise manage construction and capital improvement projects at the

hotel. Per the terms of the Management Services Agreement, contracts for over $25,000 were to

be approved by Justice Investors, and payments in excess of $25,000 required approval by
                                                 5
Justice Investors and co-signature of at least one employee of GMP Management in addition to

PALERMO.

       14.      PALERMO opened Justice Investors accounts at East West Bank and had check

signing authority for these accounts in the period from December 2013 to 2016.3 PALERMO

also opened Justice Investors accounts at Wells Fargo and had check signing authority for these

accounts in the period from December 2013 to 2016. PALERMO would have the Hilton’s

controller wire funds from the Hilton’s operating accounts to the Justice Investors’ accounts.

       15.     As noted above, PALERMO effectively controlled capital improvement and

construction projects at the Hilton. Two of the main contractors used by PALERMO from

December 2013 to June 2016 were A.R. and Contractor 2. A.R. owned and operated a

construction company. Contractor 2 owned and operated a construction company and a

consulting firm.

       16.     A.R. worked on various construction projects at the Hilton hotel beginning no

later than in or around 2006. In a recorded statement, A.R.’s ex-wife said that around the time of

the 2006 remodel, A.R. worked at the hotel seven days a week. A.R. would inflate his

construction company’s invoices. PALERMO would have Justice Investors pay the invoices via

check. A.R. told his ex-wife that part of the money was for materials, part was for PALERMO,

and part was for A.R. A.R.’s ex-wife recalled taking yellow envelopes of cash to PALERMO in

either the parking lot of the hotel or PALERMO’s house in Novato, California. A.R. and his ex-

wife split up in or about 2009. Thereafter, the ex-wife did not have direct knowledge of

kickbacks A.R. paid PALERMO.

3
 During the same period, PALERMO had also opened GMP Management accounts, a GMP Cars
account, and a Da Vinci Villa account at East West Bank. PALERMO managed the Da Vinci Villa Hotel
at 2550 Van Ness Avenue in San Francisco between approximately 2013 and 2016 without disclosing this
potentially adverse business interest to Justice Investors.



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        17.      Between 2013 and 2016, Justice Investors paid A.R.’s construction company

approximately $6.4 million for construction projects. I have reviewed invoices from A.R.’s

construction company to Justice Investors. One invoice dated December 4, 2014, was for

$5,299,800 and was a one-page invoice for the remodeling of all 550 hotel room bathrooms of

the Hilton. The invoice had “construction” misspelled in A.R.’s business logo. According to

Justice Investors, much of the work A.R. performed at the Hilton was unpermitted. Further, A.R.

had a general contractor’s license and was not approved for many of the specialty one-trade

projects he was awarded by PALERMO.

        18.      A review of bank records shows that during the 2013 through 2016 timeframe

(and possibly going back further), A.R. would deposit checks from Justice Investors into a

checking account in the name of A.R.’s construction company (“Construction Account”) at

Redwood Credit Union.4 A.R. would then transfer funds from the Construction Account to a

different Redwood Credit Union account that he controlled, in the name of The Bahama Reef

Living Trust (“BRLT Account”).5 A.R. would then write checks from the BRLT Account to

PALERMO, GMP Cars, or other entities/individuals associated with PALERMO. From March

2013 to June 2016 A.R. wrote a total of approximately $1,535,965 in such checks to PALERMO

or GMP Cars.

        19.      An example of this kickback scheme, and Count One of this complaint regards a

series of deposits and transfers of funds between on or about October 21, 2015 and on or about

October 23, 2015:

              a. On October 21, 2015, A.R. deposited four checks from Justice Investors to the

                 Construction Account. The four checks totaled $145,915. Copies of these check

4
 The Construction Account was opened by A.R. on April 3, 2010 and closed in June 2017.
5
 The BRLT Account was opened by A.R. and his wife at the time on March 1, 2011 and closed in
September 2016. A.R. and his then wife were the trustors and trustees of BRLT, a revocable trust.
Records from the credit union indicate no beneficiaries were designated for the BRLT.

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                images can be found in Exhibit 1, hereto. The memo lines for the four checks

                listed construction projects at the Hilton.

             b. On October 21, 2015, after depositing the checks, A.R. transferred $125,000 from

                the Construction Account to the BRLT Account. Also on October 21, 2015, A.R.

                wrote a check for $125,000 from the BRLT Account to GMP Cars LLC with the

                memo “2016 Porsche RS”. An image of this check can be found in Exhibit 1.

             c. On October 22, 2015, PALERMO deposited the $125,000 check from the BRLT

                Account into a GMP Cars LLC account. I know from my discussions with

                Redwood Credit Union that when PALERMO deposited this check, Redwood

                Credit Union used the Federal Reserve system to clear the check and information

                about the check was transmitted in interstate commerce.

             d. On October 23, 2015, PALERMO wired $196,155.01 from the GMP Cars LLC

                account to Porsche Financial Services. I believe this Porsche to be for

                PALERMO. On December 21, 2015 PALERMO wrote a check for $1,100 to

                Professional Window Tinting for “window tint blue special Porsche” and then on

                March 9, 2016 PALERMO wrote a check for $21,391 to the DMV for “Porsche

                title”. I assume these to be payments in connection to the purchase of a Porsche

                by PALERMO.

       20.      This kickback scheme with A.R. is further substantiated by PALERMO’s

arrangement with the other main contractor, Contractor 2. Based on a review of Contractor 2’s

Trans Pacific National Bank accounts from 2013 until the end of 2015, Contractor 2’s companies

received approximately $2,341,158.73 from Justice Investors for construction projects at the

Hilton. Over the same time period, Contractor 2 wrote seven checks from his accounts to GMP

Cars totaling approximately $323,273.16. These checks would generally have “restoration” in

the check memo line.
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          21.     During an FBI interview, Contractor 2 admitted that PALERMO requested

Contractor 2 create fraudulent invoices to Justice Investors for work that was not performed.

After receiving funds from Justice Investors for these fraudulent invoices, Contractor 2 then

wrote checks to GMP Cars. PALERMO specified the payee and the amount of the checks.

Contractor 2 confirmed that they never had vehicle restoration work done at GMP Cars, nor did

Contractor 2 invest in GMP Cars. Contractor 2 complied with PALERMO’s requests so that

PALERMO would pay outstanding legitimate invoices to Contractor 2’s construction company

and consulting firm. Contractor 2 also admitted that he created fraudulent invoices to cover costs

of PALERMO’s personal travel to China and Mexico.6

          22.     I believe the arrangements with A.R. and Contractor 2 were a kickback scheme in

violation of 18 U.S.C. §§ 1343, 1346 in which PALERMO sought to personally profit. I believe

PALERMO secretly demanded, received, and accepted money and things of value from both

contractors in exchange for PALERMO’s failing to faithfully perform his duties under the

Management Services Agreement, contrary to the interests of Justice Investors, including but not

limited to, by approving and causing Justice Investors to pay fraudulent invoices from both

contractors. PALERMO also engaged in certain conduct and made, in sum and substance,

materially false and fraudulent pretenses, representations, and promises to Justice Investors and

concealed material facts from Justice Investors including but not limited to, directing checks to

both contractors’ companies and converting for his own use the money he unlawfully obtained.

In fact, as described below, PALERMO took steps to hide his scheme from Justice Investors and

InterGroup when he abruptly left in June 2016.

          23.     By the end of 2015, InterGroup, the corporate parent of Justice Investors, was

concerned about why the Hilton was not generating cash and had started to request detailed

financial reporting from PALERMO. Previously InterGroup had only seen summary financials.

6
    This conduct is charged in an Information, CR 20-190 JD.
                                                     9
       24.     PALERMO terminated the Management Services Agreement on June 8, 2016 and

abruptly left the Hilton. PALERMO had his office packed up and numerous boxes of files

removed from the Hilton premises. An InterGroup employee who went to the Hilton after

PALERMO left found the office emptied. This InterGroup employee reviewed Hilton security

footage and saw the boxes being moved and taken from the Hilton. Since leaving the Hilton,

PALERMO has returned some files to InterGroup, but has still not returned many financial

records.

       25.     Additionally, I interviewed the owner of an IT company that PALERMO had

used to assist with GMP Management’s electronic files. This person told me that the server that

contained all of GMP Management’s files, including files related to the Hilton, was located at the

Da Vinci Villa Hotel, not at the Hilton. This is why InterGroup could not find a server in the

office or access Justice Investors’ electronic documents when PALERMO left.

       26.     PALERMO also attempted to have all of the Justice Investors email accounts used

by PALERMO and his employees deleted at the time of his departure. However, InterGroup

hired a forensic IT firm and was able to recover some of these emails. PALERMO also asked the

IT professional described above to put a copy of all of the Justice Investors’ emails on an

external hard drive for PALERMO. The IT professional complied and did not know what

PALERMO did with the hard drive.

   C. Count Two: SBA 7A Loan Fraud

       27.     After PALERMO departed the Hilton in mid-2016, he focused his attention on

GMP Cars, an automotive services group that advertises a variety of services, including collision,

aftermarket, restoration, paint protection, audio and electronics and exotic car service. By at least

2019, I believe GMP Cars was in immense financial difficulty due to PALERMO’s lavish

spending habits. As detailed below, by mid-2019, PALERMO had (i) significantly overdrawn

GMP Cars bank accounts; (ii) used a friend’s American Express to cover expenses; (iii) failed to
                                                 10
pay a number of vendors; and (iv) failed to make payments due in connection with the

acquisition of the German Motors Collision Center. PALERMO disguised the true financial

condition of GMP Cars when he applied for and received $5 million in loans from Lender 1 in

2019. Not only did he fail to disclose material information, such as the overdraft, he also

submitted at least one falsified document to Lender 1. Understanding the true state of GMP Cars

in 2019 is key to understanding why PALERMO needed to lie in order to secure additional

funding. Therefore, I provide facts related to items (i)-(iv) before discussing the 2019 loan.

CW Bank Overdrafts

       28.     PALERMO opened a number of business accounts at an FDIC-insured bank

(“CW Bank”) starting in August 2018. These accounts included accounts for each GMP Cars

location and a GMP Cars LLC – Operating account (“Operating Account”). PALERMO, GMP

Cars’ controller, and an additional GMP Cars’ employee were signatories on the accounts.

       29.     By the summer of 2019, many of the GMP Cars accounts at CW Bank began to

show up on CW Bank’s daily overdraft report. GMP Cars was writing checks with insufficient

funds to cover the checks, depositing checks that bounced, and overdrawing the accounts. A CW

Bank employee regularly spoke to PALERMO about these issues. On August 20, 2019 a CW

Bank employee sent PALERMO and the GMP Cars’ controller an email, explaining that two of

the checking accounts needed $850,926.60 to cover the overdraft in the accounts. A copy of this

email can be found in Exhibit 2 hereto.

       30.     GMP Cars accounts at CW Bank continued to be overdrawn into September 2019.

While CW Bank told PALERMO it preferred wires or Cashier’s Checks to cover the overdraft,

in September 2019, a CW Bank employee agreed to accept personal checks from PALERMO’s

personal bank account to cover the overdraft of the Operating Account. PALERMO represented

to this CW Bank employee that he was in the hospital for heart surgery and could not do wires,

but had enough funds in his personal account (at another bank) to cover his personal checks.
                                                 11
PALERMO provided three personal bank checks to cover the overdraft in the Operating

Account—one dated September 10, 2019 for $150,000; one dated September 11, 2019 for

$190,000; and one dated September 12, 2019 for $195,000. All three checks bounced due to

insufficient funds, and by September 30, 2019 the Operating Account was overdrawn by

$738,706.44. Thereafter, CW Bank restricted all of PALERMO’s accounts.

       31.    PALERMO eventually spoke to CW Bank employees after his accounts were

restricted. According to an FBI interview of one of these employees, PALERMO first blamed his

other banks for the checks bouncing, as well as his hospitalization. Eventually, PALERMO

admitted he did not have the funds to cover the overdraft and was waiting on an SBA loan. The

Operating Account had a negative $594,325.16 balance as of October 31, 2019 and negative

$338,875.08 balance as of November 29, 2019.

       32.    PALERMO did not disclose any of the foregoing to Lender 1.

American Express Charges

       33.    In or about 2017, INVESTOR A invested $100,000 in GMP Cars in exchange for

a 1% ownership stake in GMP Cars. The deal was done on a handshake and not reduced to

writing. Based on a FBI interview of INVESTOR A, by the summer of 2019 PALERMO

claimed GMP Cars did not have a line of credit and was having cash flow timing problems.

PALERMO and asked INVESTOR A for a $50,000 check that he would pay back in a few days.

INVESTOR A agreed, gave PALERMO a $50,000 check, and then PALERMO wrote

INVESTOR A a $50,000 check a few days later.

       34.    Eventually PALERMO asked if he could charge INVESTOR A’s American

Express card, again claiming GMP Cars did not have a line of credit and had cash flow timing

issues. INVESTOR A agreed to the one-time use of his credit card. PALERMO, however, used

INVESTOR A’s American Express card multiple times, and by September 2019, INVESTOR

A’s American Express card had approximately $190,000 in unauthorized GMP Cars charges, for
                                               12
which PALERMO had not reimbursed INVESTOR A. INVESTOR A cancelled this card. As of

January 2020 PALERMO still owed INVESTOR A $171,000 of the $190,000.

        35.     The debt to INVESTOR A was not disclosed to Lender 1.

        36.     It bears noting that a review of PALERMO’s American Express records from

January 2015 to August 2019, reveals that PALERMO made payments to his and his wife’s

American Express cards totaling approximately $10,745,300.82. Major expenditures included

approximately $1,731,382.41 at R3 Motorsports from August 2016 to August 2019. R3

Motorsports provided mechanical and repair support for PALERMO and his wife’s race cars so

that they could race in Ferrari Challenges. My review of other financial records shows that

PALERMO would take funds from GMP Cars accounts to pay for his racing costs and American

Express. In addition to paying R3 Motorsports, PALERMO had to pay Ferrari annually to enter

the Ferrari Challenges, pay for tires for the race cars, and obtain racing vehicles from the Ferrari

of San Francisco dealership. I have observed some of these charges on PALERMO’S American

Express statements. PALERMO claimed to Lender 1 that the Ferrari racing was part of

marketing for GMP Cars.

        37.     Other notable American Express charges for the same time period included

$59,808.86 at Nordstrom, at least $290,251.71 in airline expenditures, at least $253,900.97 in

hotel expenditures, and $47,760 at a San Francisco jewelry store. I believe these records

evidence PALERMO’s lavish lifestyle.

        38.     In my review of PALERMO’s American Express records, I also noted that from

July 2018 to August 2019, PALERMO charged approximately $1,061,110 to his American

Express card at different GMP Cars locations. Similar to the behavior with INVESTOR A’s

American Express card, I believe PALERMO did this to generate cash at the stores and possibly

also to artificially inflate revenue.


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       39.     On August 31, 2019 American Express reduced PALERMO’s spending limit

from $200,000 to $50,000. PALERMO had a balance of $192,405.20 as of August 31, 2019. By

December 31, 2019, PALERMO still owed American Express approximately $192,000 and

American Express ended up cancelling PALERMO’s account due to lack of payment.



GMP Cars’ Revenue and Vendor Payments

       40.     I have interviewed current and former GMP Cars employees who have told me

that GMP Cars was not generating a profit in 2019.

       41.     A former general manager of one GMP Cars location told me that GMP Cars had

a bad reputation with other auto shops and auto parts vendors. Some auto part vendors would not

sell GMP Cars parts and others would not allow GMP Cars to pay by check. PG&E would shut

off the electricity in 2019 for non-payment. Employees’ paychecks sometimes bounced. During

the time he was employed, the former general manager received a daily spreadsheet tracking the

sales and costs at each location. PALERMO would have regular discussions with the managers

about how much their stores were losing. Based on these spreadsheets and discussions with

PALERMO and the other managers, the person I interviewed believed almost every store was

operating at a loss in 2019 and there was no way the company was generating a profit.

       42.     The FBI interviewed a current staff accountant at GMP Cars who also confirmed

that in 2019 GMP Cars was not generating a profit. This staff accountant worked under the

controller and was in charge of creating a daily report that showed profit and loss. This report

was sent to PALERMO and the chief operating officer at GMP Cars. The staff accountant’s

report looked at sales at each location minus the cost of goods sold, rent, and payroll. The staff

accountant’s report was consistently negative for each location in 2019. The staff accountant did

not think there was any way the company was generating a profit or positive net income in 2019.


                                                 14
       43.     There are at least three lawsuits against GMP Cars for lack of payment, fraud and

deceit, or breach of contract. Future Nissan filed a complaint against GMP Cars in Marin County

in February 2020 for lack of payment on auto parts received in 2019, with losses totaling

$23,290.75. A receiver for a set of dealerships filed a complaint against GMP Cars in Solano

County in November 2019 for unpaid balances totaling $64,874.50, and three cars that were not

returned to the dealership totaling $118,341.

       44.     Additionally, FinishMaster, a paint company, filed a complaint against GMP Cars

in federal district court in Indiana in December 2019 for breach of contract. I have learned that

the automotive paint industry will sometimes give businesses advances or credits for agreeing to

buy a certain amount of paint over a period of time and agreeing to exclusively use that paint

company. The advance is meant to be used only for working capital for the auto shop and auto

shop improvements. FinishMaster alleges that in August 2018, six of the GMP Cars locations

agreed to purchase 100% of their paint and material requirements exclusively from PPG through

FinishMaster and to be current in their accounts. In return FinishMaster gave GMP Cars an

advance credit of $750,000 to be spent on shop improvements and equipment. FinishMaster gave

GMP Cars an additional $50,000 credit in October 2018. FinishMaster alleges that GMP Cars

stopped paying for its purchases on time and told FinishMaster that GMP Cars would not

exclusively use PPG paint. The six locations owe FinishMaster $902,681.29. GMP Cars held

accounts at Presidio Bank during this period and this is where the FinishMaster advances were

deposited.

       45.     None of the aforementioned business disputes/lawsuits were disclosed to Lender

1. Additionally, the financial statements submitted to Lender 1 in connection with the 2019 loan

showed that each GMP Cars location generated positive net income in 2019.

German Motors Collision Center Acquisition


                                                15
       46.     PALERMO bought the German Motors Collision Center from German Motors

Corporation (owners of BMW of San Francisco) on January 31, 2019, for approximately $5.2

million. The German Motors Collision Center became GMP Cars San Francisco.

       47.     The president and vice president of German Motors Corporation stated during an

FBI interview that they were surprised at the closing because PALERMO wired approximately

$1.1 million, but then wanted to enter into a promissory note for the remaining $4.15 million

due. German Motors Corporation agreed to the promissory note dated January 31, 2019, which

called for monthly installment payments of principal ($250,000) and interest (8%) until the

maturity date of December 31, 2019. PALERMO also pledged in the note to auction a number of

vehicles and provide the net proceeds to German Motors Corporation.

       48.     Soon after the first two monthly payments were due, PALERMO stopped paying

the principal amounts owed. German Motors Corporation ended up entering into a modification

to the promissory note with PALERMO, dated May 31, 2019, to reflect these issues. The first

modification required approximately $203,553 due at signing to go toward unpaid interest and

principal. PALERMO was also supposed to send $500,000 within 60 days of this updated note,

but PALERMO did not do so. PALERMO also did not auction off the vehicles as specified in the

January 21, 2019 note and first modification. The outstanding principal amount as of May 30,

2019 was $3,927,666.67

       49.     Due to continued lack of payment, German Motors Corporation entered into a

second modification to the promissory note with PALERMO dated August 20, 2019. This

second modification required a number of principal payments to be made within in a short period

including $500,000 made by the earlier of September 27, 2019 or PALERMO securing a loan to

cover his debts. The outstanding principal amount on the note as of August 31, 2019 was

$3,827,666.67.


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       50.       PALERMO misled Lender 1 regarding his debt to German Motors Corporation.

As explained below, I believe that PALERMO provided a false version of the January 2019

promissory note to Lender 1 and did not provide copies of the May 31, 2019 or August 20, 2019

modifications.

Loan Fraud

       51.       PALERMO applied for two SBA-guaranteed loans with Lender 1 in the summer

of 2019.

       52.       PALERMO filled out the initial SBA 7(a) Borrower Information Form on August

8, 2019. By September 26, 2019, Lender 1 had done its initial underwriting and created an

approval memo for Lender 1’s loan committee. PALERMO applied for a $1,584,000 SBA loan

to purchase commercial real estate, and a $3,250,000 SBA loan to refinance business debt and to

buy out PALERMO’s silent partner in GMP Cars, Investor K.

       53.       On October 1, 2019, Lender 1 issued a conditional commitment letter to GMP

Cars saying they would submit the loan application for consideration to the SBA.

       54.       Both loans closed on December 19, 2019. Of the $3,250,000 loan, $2,475,000

was wired to Investor K and his associated trust; $548,705.42 was wired to Presidio Bank to pay

off an existing loan taken out by PALERMO, and $111,101.91 was wired to GMP Cars accounts

held at Redwood Credit Union. (PALERMO opened accounts at Redwood Credit Union after his

accounts were restricted at CW Bank.)

       55.       As part of the loan application completed on August 8, 2019, PALERMO

provided GMP Cars debt schedule as of June 30, 2019. As part of the loan closing process, GMP

Cars also provided a debt schedule as of September 30, 2019. German Collision Center is listed

on both debt schedules. The monthly payments listed for German Collision Center is $24,517.78

for June 30, 2019 and $24,518 for September 30, 2019. The interest rate was listed at 8% and the

maturity date as December 31, 2019 for the German Collision Center in both debt schedules. The
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September 30, 2019 debt schedule did not include the $738,706.44 overdraft in the Operating

Account at CW Bank. Nor did it include the $190,000 owed to Investor A for charges on his

American Express card.

       56.      I believe PALERMO made material misstatements regarding the acquisition of

German Collision Center to Lender 1 during the loan application process. PALERMO, as part of

the loan application process, provided a supposed copy of the January 31, 2019 promissory note

he entered into with German Motor Corporation. I believe this to be an altered version of the

correct promissory note. Exhibit 3 hereto contains the first page of promissory note provided to

Lender 1 and Exhibit 4 contains the first page of the promissory note provided to the FBI from

German Motors Corporation. I believe paragraphs 2.2 and 3 were altered to make it appear that

PALERMO only owed monthly interest payments and the maturity date was 2021, when in fact

in the original promissory note, PALERMO owed interest and principal payments and the

maturity date was December 31, 2019.

             a. Paragraphs 2.2 of the falsified version (Exhibit 3) states “Monthly Installment

                Payments. The parties hereto acknowledge that the Maker shall pay installments

                of principal and interest under this Note in the amount of: (i) all of the net

                proceeds from the sale of certain cars to be sold at R&M Sotheby’s on March 6

                and 7, 2019 at Amelia Island, a description of which is attached hereto as Exhibit

                A, and (ii) payments of interest on the outstanding principal, commencing on

                March 1, 2019, and continuing on the 1st day of each calendar month thereafter

                until, but excluding, the Maturity Date.” The Maturity Date listed is February 28,

                2021.

             b. What I believe to be the correct version (Exhibit 4) states “Monthly Installment

                Payments. The parties hereto acknowledge that the Maker shall pay installments

                of principal and interest under this Note in the amount of: (i) all of the net
                                                  18
               proceeds from the sale of certain cars to be sold at R&M Sotheby's on March 6

               and 7, 2019 at Amelia Island, a description of which is attached hereto as Exhibit

               A, and (ii) the amount of Two Hundred Fifty Thousand Dollars ($250,000),

               commencing on March 1, 2019, and continuing on the lst day of each calendar

               month thereafter until, but excluding, the Maturity Date”. The Maturity Date

               listed is December 31, 2019.

       57.     As stated earlier, PALERMO fell behind on the monthly payments of principal

and interest due to German Motors Corporation. German Motors Corporation agreed to an

extended maturity date of February 28, 2021 in the first modification of the promissory note in

May 2019; not in the original January 31, 2019 promissory note.

       58.     PALERMO did not provide the modifications of the promissory notes from May

and August 2019 to Lender 1. PALERMO also did not tell Lender 1 he was behind on payments

to German Motor Corporation. PALERMO tried to hide the large payments due to German

Motor Corporations by first supplying false debt schedules as June 30, 2019 and September 30,

2019 that implied PALERMO did not owe large principal payments, then providing a falsified

version of the promissory note, and finally not providing the modifications of the promissory

notes to Lender 1, which would have revealed PALERMO was behind on payments to German

Motor Corporation.

       59.     The FBI interviewed the Chief Credit Officer at Lender 1 who reviewed the GMP

Cars loan approval memo. The Chief Credit Officer did not know that GMP Cars had overdrawn

its Operating Account at CW Bank in September 2019, nor that it continued to be overdrawn in

October and November of 2019, nor that the accounts were restricted. The Chief Credit Officer

felt that this was a material omission and would have been material to Lender 1’s decision to

approve and close the loan.


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       60.     The FBI also interviewed an employee of Lender 1 who worked on the GMP Cars

loan application and underwriting. This employee stated that if he knew about the overdraft at

CW Bank, then he would have stopped the loan application process and had no further

discussions with PALERMO. This employee also stated if he knew there were modifications to

the promissory note with German Motors Corporation, they would have been relevant to Lender

1’s review.

       61.     As part of the SBA 7(a) loan closing, on December 20, 2019, PALERMO

received $111,101.91 wired to the GMP Cars LLC account ending at Redwood Credit Union.

The address listed for that GMP Cars LLC account is 20 Pimentel Ct., Ste C4, Novato, CA,

94949. The wire sent from Old Republic Title, the escrow agent for the loan, was a federal wire

using the Federal Reserve system and constitutes an interstate wire for Count 2 of this

Complaint.

       62.     For the reasons set forth above, I believe PALERMO made materially false and

fraudulent pretenses, representations, and promises to Lender 1 and concealed material facts

from Lender 1 in order to secure loans from Lender 1, in violation of 18 U.S.C. § 1343.

   D. Count Three: False Statement to Bank for Paycheck Protection Program (PPP)

       63.     On April 3, 2020, PALERMO filled out an SBA PPP Borrower Application Form

for GMP Cars LLC. In the application, PALERMO stated that GMP Cars had 133 employees

with monthly payroll obligations of $693,461. The loan amount was auto calculated to

$1,733,000 based on this information.

       64.     PALERMO applied for this PPP loan through an FDIC-insured bank (“CP

Bank”). PALERMO stated the loan would be used for payroll, lease payments, and utilities. By

April 17, 2020, PALERMO’s application had been processed and $1,733,000 had been wired to

a GMP Cars LLC account held at CP Bank.


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       65.     As part of the application, PALERMO had to make a number of certifications.

Applicants have to certify in good faith to all the certifications to be eligible for the PPP loan.

One certification PALERMO made was “The Applicant was in operation on February 15, 2020

and had employees for whom it paid salaries and payroll taxes or paid independent contractors,

as reported on Form(s) 1099-MISC.” I believe that this certification PALERMO made to the

SBA was false because there is probable cause to believe that PALERMO did not properly pay

payroll taxes for his employees in 2019 to 2020.

       66.     I have learned from the Department of Labor that in the State of California, the

Employment Development Department (EDD) administers the Unemployment Insurance (UI)

program. A business becomes subject to California state payroll taxes upon paying wages over

$100 in a calendar quarter to one or more employees. Once subject to payroll taxes, an employer

must complete and submit a registration form to EDD within 15 days. Employers are required to

file a Quarterly Contribution Return and Report of Wages (Form DE 9), which reconciles wages

reported and taxes paid for each quarter. To be eligible for UI in California, claimants must have

worked and earned a minimum amount of wages within the past 18 months. The amount of

weekly UI benefits paid to a claimant is based on the claimants’ prior earnings, as reported by

their employer for a specified time period, called the “base wage” period. EDD prioritizes the

immediate financial needs of unemployed workers over collection of payroll taxes from

employers; therefore, an employer’s delinquency to pay taxes, or utter failure to even register

with the EDD, will not affect a claimant’s eligibility for benefits. As long as a claimant shows

proof of wages (W2, check stub) on their UI claim, EDD will pay the benefits, if eligible, even

though the employer may not have paid any payroll taxes or registered with the EDD.

       67.     Based on an initial search by a law enforcement agency of EDD records, GMP

Cars, LLC last reported 1 employee in the 3rd quarter of 2019. GMP Cars reported 5 employees

in the 2nd quarter of 2019 and 100 employees of the 1st quarter of 2019. GMP Cars did not
                                                  21
report any employees from the 4th quarter of 2019 to present. I believe this lack of reporting of

employees by GMP Cars indicates that they did not pay payroll taxes for part of 2019 to present.

       68.     Based on an FBI interview of a current HR employee at GMP Cars, PALERMO

did not allow payroll to be processed through GMP Cars’ payroll vendors. The HR employee

calculated and prepared the payroll including taxes and deductions with the vendor. PALERMO,

however, would not allow the final checks to be processed with the vendor. Instead GMP Cars’

controller had the paychecks manually cut through GMP Cars’ bank accounts. PALERMO and

the controller were in charge of paying the taxes. The HR employee did not have bank account

access for GMP Cars and did not know whether GMP Cars was in fact paying payroll taxes.

GMP Cars was recently looking for a new payroll system and PALERMO refused to consider

any payroll vendor that did not allow the company to manually pay its own taxes outside of the

vendor.

       69.     Additionally, for approximately the past year, the HR employee had to deal with

unemployment claims for each GMP Cars’ employee that has been laid off. Each laid-off

employee has reached out to the HR employee saying that EDD told the employee that EDD’s

records indicate the employee has earned nothing or very little. The HR employee then had to

manually fill out paperwork to EDD stating the salary information for the employee. The HR

employee asked PALERMO and the GMP Cars’ controller about this issue, and they just told the

HR employee that EDD was never right. I believe the fact that EDD lacks wage information for

laid-off GMP Cars employees is another indicator that GMP Cars has not been paying California

payroll taxes for its employees.

       70.     I also interviewed a former GMP Cars employee who told me that he/she believed

GMP Cars was not paying payroll taxes and it was one of the reasons he/she quit. When this

former employee took over HR in summer 2019, two employees approached him/her about

issues with their W2. The state told the employees they had not paid taxes and owed the state,
                                                22
even though the employees’ W2s showed state taxes taken out of their paychecks. The former

employee thought this was a red flag and decided to investigate. On a shared document site, the

former employee found a spreadsheet updated by the controller regarding payroll taxes. The

former employee saw a figure of approximately $400,000 in unpaid taxes. The former employee

also tried to search GMP Cars accounting system for tax payments and could only find a few

small payments.

              71.             The former employee provided me with a copy of the aforementioned

spreadsheet. Part of that spreadsheet included the table pasted below. From Q4 2017 to Q1 2019

the table indicated that GMP Cars still owed $341,732.80 in California payroll taxes. GMP Cars

had apparently chosen to file certain quarters, but not file others. Even for quarters where taxes

were supposedly filed, the entire amount owed was incorrect or not filed. For example, the notes

column for Q1 2019 states “Only one payroll filed – Need to file correct amount.”
                                                               GMP Cars EDD Payroll Taxes
                                                                                              Remaining    Remaining
                                                                                   Paid
   Status           Period    Tax Amount    Interest    Penalties      Total                   Balance    Balance Not                        Notes
                                                                                  Amount
                                                                                                Filed        Filed
                                                                                                                           33,884.96 was filed ‐‐ Estimated amount
Filed               Q4 2017     62,040.55                            62,040.55    33,884.96          ‐       28,155.59
                                                                                                                           of actual return is 62k
Not Filed           Q1 2018     82,264.40                            82,264.40           ‐                   82,264.40
Not Filed           Q2 2018     90,697.48                            90,697.48           ‐                   90,697.48
                                                                                                                           $101k was assesed ‐‐ actual filing should
Filed               Q3 2018    101,866.12   1,510.44    13,469.30   116,845.86    80,101.76   36,744.10       (9,457.90)
                                                                                                                           be $92,408
Not Filed           Q4 2018     95,190.70                            95,190.70           ‐                   95,190.70
                                                                                                                           Only one payroll filed ‐ Need to file
Filed               Q1 2019     28,965.72      101.26    2,352.61    31,419.59    13,281.66   18,137.93
                                                                                                                           correct amount.
            Total              461,024.97   1,611.70    15,821.91   478,458.58   127,268.38   54,882.03     286,850.27
                                            Grand Total Owed                                               341,732.30



              72.             Based on a review of PALERMO’s American Express statements from January

2015 to August 2019, I only found four payments on June 25, 2019 totaling $61,469.64 to EDD

Payroll Tax. Based on a review of GMP Cars LLC business and payroll checking account

statements and check images at Redwood Credit Union from October 1, 2019 to March 31, 2020,

I saw no payments to EDD.



                                                                                 23
       73.      Based on this information, I believe PALERMO chose not to pay payroll taxes

properly in 2019 and 2020. This is why EDD shows no employees for GMP Cars for the past

two quarters and why a current GMP Cars HR employee has to provide information to EDD

manually regarding each GMP Cars employee that filed for unemployment. PALERMO’s

refusal to process tax payments through GMP Cars’ payroll vendors is also consistent with

deliberate non-payment of payroll taxes. PALERMO falsely certified to CP Bank, a federally

insured institution, that he paid payroll taxes for GMP Cars’ employees. PALERMO made the

certification knowing it was false and for the purpose of influencing CP Bank and securing the

PPP loan, in violation of 18 U.S.C. § 1014.

                                       IV.     CONCLUSION

       74.      Based on the foregoing, it is my opinion that there is probable cause to believe

that Geoffrey Mark PALERMO has committed the following violations of federal law:

             a. Count One: Wire Fraud and Honest Services Wire Fraud, for a kickback scheme

                PALERMO orchestrated from 2013 through 2016 while managing the Hilton

                hotel at 750 Kearny Street in San Francisco, CA, in violation of 18 U.S.C. §§

                1343, 1346;

             b. Count Two: Wire Fraud, for defrauding a Small Business Administration (SBA)

                Preferred Lender in connection with obtaining $5 million in SBA-guaranteed

                loans in 2019, in violation of 18 U.S.C. § 1343;

             c. Count Three: False Statement in a Loan Application, for making false

                certifications in April 2020 in order to obtain a Paycheck Protection Program loan

                through an FDIC-insured bank, in violation of 18 U.S.C. § 1014.

Accordingly, I respectfully request that a warrant for the arrest of PALERMO be issued. Due to

the ongoing COVID-19 pandemic, I am also requesting a summons for PALERMO. The FBI and


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U.S. Attorney’s Office will evaluate whether the summon is a practical alternative to arrest in

this case.

                           V.      REQUEST FOR SEALING

        75.    I respectfully request that the Court issue an order sealing, until further order of

the Court, the Criminal Complaint and all papers submitted in support of this Criminal

Complaint, including this affidavit. I believe that sealing is necessary in order to effectuate the

orderly arrest or self-surrender of PALERMO and in order to guard against flight and destruction

of evidence.

        I declare under penalty of perjury that the above is true and correct to the best of my

knowledge.

                                               /s/ Alexandra Bryant
                                               ______________________________
                                               via telephone
                                               ALEXANDRA E. BRYANT
                                               Special Agent
                                               Federal Bureau of Investigation




Sworn to before me over the telephone and signed by me this 29th day of May 2020.


_____________________________________
HON. ALEX G. TSE
United States Magistrate Judge




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